                         IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

ANIRUDH MODI                                  )
                                              )
v.                                            )      NO. 3:18-0648
                                              )      Crenshaw/Holmes
ENVISION HEALTHCARE                           )
CORPORATION, et al                            )


                                            ORDER

       Pending before the Court is a motion filed by Plaintiff (Docket No. 7), in which Plaintiff

requests a continuance of the initial case management conference, presently scheduled for

September 17, 2018. Plaintiff’s motion obliquely refers to timing and procedures that may be

governed by the Private Securities Litigation Reform Act (the “PSLRA”). However, the motion

fails to identify any duration of the requested continuance. Nor does the motion provide sufficient

information from which the Court can determine what an appropriate length of continuance would

be and the specific statutory considerations that may (or will) impact the management of this case

going forward. Plaintiff’s motion (Docket No. 7) is nevertheless GRANTED on the condition that,

by no later than September 28, 2018, Plaintiff must file a status report, informing the Court of the

following information:

       (i)     the timing of any actions required or contemplated by the PSLRA, including

applications for lead counsel, motions to dismiss, and consolidation;

       (ii)    whether and to what extent the pending Delaware actions may impact the

management and administration of this case;

       (iii)   the proposed timing for an initial case management conference in this case;

       (iv)    the status of service on Defendants; and,




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        (v)     any other information that might assist the Court is structuring a case management

plan in this case.

        Failure to file this status report as directed, so that this case can get on track for management

and administration in accordance with the Court’s procedures and expectations, may result in one

or more of the consequences permitted by Fed.R.Civ.P. 16(f).

        Plaintiff is also reminded that by notice of the clerk on July 16, 2018, counsel Evan J. Smith

and Marc L. Ackerman were directed to, within 21 days of that date, file motions to appear pro

hac vice. As of this date, no such motions have been filed. 1 By no later than September 28,

2018, Mr. Smith and Mr. Ackerman must file motions to appear pro hac vice in compliance with

the Court’s rules and pay the required fee. Failure to do so may result in an order that counsel are

not permitted to participate in this case or other order under Fed.R.Civ.P. 16(f).

        It is SO ORDERED.




                                                ___________________________________
                                                BARBARA D. HOLMES
                                                United States Magistrate Judge




        Counsel are reminded that new local rules recently went into effect, and the motions for
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pro hac vice admission must be in compliance with the new rules.
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